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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

SRAM, LLC,                                        )
                                                  )
               Plaintiff,                         )
                                                  )            Case No. 1:12-CV-3629
       v.                                         )
                                                  )            Honorable Edmond E. Chang
HAYES BICYCLE GROUP, INC.                         )
                                                  )
               Defendant.                         )

                               STIPULATION OF DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties

hereby dismiss with prejudice all claims in this action.


Dated: September 5, 2014                              Respectfully submitted,



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